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                          UNITED STATES DISTRICT COURT
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                        CENTRAL DISTRICT OF CALIFORNIA
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10    DAVID G. MOUNTFORD,                       Case No. CV 20-7362-SVW (KK)
11                            Petitioner,
12                       v.                     JUDGMENT
13    THE PEOPLE,
14                            Respondent.
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17         Pursuant to the Order Summarily Dismissing Action Without Prejudice,
18         IT IS HEREBY ADJUDGED that this action is DISMISSED without
19   prejudice.
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21   Dated: November 9, 2020
                                            HONORABLE STEPHEN V. WILSON
22                                          United States District Judge
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